Case 1:14-cr-00089-TSK-MJA Document 360 Filed 04/10/15 Page 1 of 4 PageID #: 1148



                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

  UNITED STATES OF AMERICA,

                   Plaintiff,

        v.                                 CRIMINAL NO. 1:14CR89-16
                                                (Judge Keeley)

  ALICIA TAVAGILONE,

                   Defendant.

            ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
           OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
        GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

        On Mach 25, 2015, defendant, Alicia Tavagilone (“Tavagilone”),

  appeared before United States Magistrate Judge John S. Kaull and

  moved for permission to enter a plea of GUILTY to Count Fourteen of

  the Indictment. Tavagilone stated that she understood that the

  magistrate judge is not a United States District Judge, and

  consented to pleading before the magistrate judge.          This Court had

  referred the guilty plea to the magistrate judge for the purposes

  of   administering    the   allocution   pursuant   to   Federal   Rule   of

  Criminal Procedure 11, making a finding as to whether the plea was

  knowingly and voluntarily entered, and recommending to this Court

  whether the plea should be accepted.

        Based upon Tavagilone’s statements during the plea hearing and

  the testimony of Sergeant Joe Adams, the magistrate judge found

  that Tavagilone was competent to enter a plea, that the plea was

  freely and voluntarily given, that she was aware of the nature of

  the charges against her and the consequences of her plea, and that
Case 1:14-cr-00089-TSK-MJA Document 360 Filed 04/10/15 Page 2 of 4 PageID #: 1149



  USA v. ALICIA TAVAGILONE                                       1:14CR89-16

            ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
           OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
       GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

  a factual basis existed for the tendered plea. On March 26, 2015,

  the magistrate judge entered an Opinion/Report and Recommendation

  Concerning Plea of Guilty in Felony Case (“R&R”) (dkt. no. 327)

  finding a factual basis for the plea and recommended that this

  Court accept Tavagilone’s plea of guilty to Count Fourteen of the

  Indictment.

        The magistrate judge also directed the parties to file any

  written objections to the R&R within fourteen (14) days after

  service of the R&R. The magistrate judge further directed that

  failure to file objections would result in a waiver of the right to

  appeal from a judgment of this Court based on the R&R. After which

  the parties did not file any objections.

        Accordingly, this Court ADOPTS the magistrate judge’s R&R,

  ACCEPTS Tavagilone’s guilty plea, and ADJUGES her GUILTY of the

  crime charged in Count Fourteen of the Indictment.

        Pursuant to Fed. R. Crim. P. 11(e)(2) and U.S.S.G. § 6B1.1(c),

  the Court DEFERS acceptance of the proposed plea agreement until it

  has received and reviewed the presentence report prepared in this

  matter.




                                       2
Case 1:14-cr-00089-TSK-MJA Document 360 Filed 04/10/15 Page 3 of 4 PageID #: 1150



  USA v. ALICIA TAVAGILONE                                                1:14CR89-16

            ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
           OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
       GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

        Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

  follows:

        1.    The     Probation    Officer     undertake         a        presentence

  investigation of ALICIA TAVAGILONE, and prepare a presentence

  report for the Court;

        2.    The    Government   and   Tavagilone    are   to       provide     their

  versions of the offense to the probation officer by April 23, 2015;

        3.    The presentence report is to be disclosed to Tavagilone,

  defense counsel, and the United States on or before June 22, 2015;

  however, the Probation Officer is not to disclose the sentencing

  recommendations made pursuant to Fed. R. Crim. P. 32(e)(3);

        4.    Counsel may file written objections to the presentence

  report on or before July 6, 2015;

        5.    The Office of Probation shall submit the presentence

  report with addendum to the Court on or before July 20, 2015; and

        6.    Counsel may file any written sentencing statements and

  motions for departure from the Sentencing Guidelines, including the

  factual    basis   from   the   statements   or    motions,        on    or   before

  August 3, 2015.




                                        3
Case 1:14-cr-00089-TSK-MJA Document 360 Filed 04/10/15 Page 4 of 4 PageID #: 1151



  USA v. ALICIA TAVAGILONE                                            1:14CR89-16

            ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
           OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
       GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

        The magistrate judge continued Tavagilone on bond pursuant to

  the Order Setting Conditions of Release (dkt. no. 39) entered on

  November 24, 2014.

        The   Court   will     conduct    the    sentencing    hearing      for   the

  defendant    on   Tuesday,    August     11,   2015   at    9:30   A.M.    at   the

  Clarksburg, West Virginia point of holding court.

        It is so ORDERED.

        The Clerk is directed to transmit copies of this Order to

  counsel of record, the defendant and all appropriate agencies.

  DATED: April 10, 2015


                                         /s/ Irene M. Keeley
                                         IRENE M. KEELEY
                                         UNITED STATES DISTRICT JUDGE




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